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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER:
UNITED STATES OF AMERICA
                                                   PLAINTIFF                     ED CR 18-00172-AB
                           v.
DIAMOND et al.
                                                                   ORDER TO REASSIGN CRIMINAL CASE
                                                                         DUE TO SELF-RECUSAL
                                               DEFENDANT(S).



    The undersigned Judge, to whom the above-entitled criminal case was assigned, is hereby of the opinion
that he or she should not preside over said case by reason of:
Judge Birotte was the US Attorney at the time this matter was pending with the United States Attorney's Office,
which presents a conflict. Therefore, Judge Birotte may not preside over this case.




   IT IS HEREBY ORDERED that the Clerk randomly reassign the above-referenced case in accordance with
General Order 14-03.

           July 3, 2018
               Date                                                   United SStates District/Magistrate
                                                                                             /           Judge


                                               Notice to Counsel from Clerk

   The above-referenced criminal case has been randomly reassigned to Judge R. Gary Klausner                    .
On all documents subsequently filed in this case, please substitute the initials    RGK          after the case
number in place of the initials of the prior judge so that the case number will read 5:18-cr-00172 RGK          .

    This is very important because traditionally filed documents are routed to the assigned judge by means of
the initials.




cc:       Previous Judge    Statistics Clerk
CR-102 (06/14)                      ORDER TO REASSIGN CRIMINAL CASE DUE TO SELF-RECUSAL
